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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 MAXINE WHITE                                      §
     Plaintiff,                                    §
                                                   §
 v.                                                §
                                                   §
 FRONTIER AIRLINES, INC.                           §
      Defendant, Third-Party Plaintiff,            §
                                                   §
 v.                                                §   CIVIL ACTION NO. 16-CV-01266-LY
                                                   §
 THE AUSTIN FIRE DEPARTMENT,                       §
 THE CITY OF AUSTIN AVIATION                       §
 DEPARTMENT, AUSTIN-BERGSTROM                      §
 INTERNATIONAL AIRPORT, THE                        §
 CITY OF AUSTIN, AND FLIGHT                        §
 SERVICES AND SYSTEMS, INC.                        §
                                                   §
         Third-Party Defendants.                   §


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE



       Under FED R. CIV. P. 41(a)(1)(A)(ii), Plaintiff, Defendants, and Third-Party Defendants

file this Stipulation of Dismissal.

       1.       Plaintiff is Maxine White; Defendant is Frontier Airlines, Inc. (“Frontier”); Third-

Party Defendants are: The Austin Fire Department, The City of Austin Aviation Department,

Austin-Bergstrom International Airport, and the City of Austin, and Flight Services & Systems,

Inc.

       2.       On July 21, 2017, Plaintiff filed her First Amended Complaint.




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           3.         Frontier timely answered Plaintiff’s Petition and brought third-party claims against

Third-Party Defendants, who subsequently answered Frontier’s Third-Party Petition. Frontier and

Third-Party Defendants agree to this Dismissal.

           4.         Plaintiff and Defendants stipulate to dismiss with prejudice all claims asserted in

this lawsuit including Third-Party claims.

           5.         This case is not a class action under Federal Rule of Civil Procedure 23, a derivative

action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

           6.         A receiver has not been appointed in this case.

           7.         This case is not governed by any federal statute that requires a court order for

dismissal of the case.

           8.         Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.



Respectfully submitted,

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